Petition for Writ of Mandamus Denied and Memorandum Opinion filed
August 8, 2024.




                                     In The

                    Fourteenth Court of Appeals

                               NO. 14-24-00291-CR



                     IN RE ALFREDO GARZA, Relator


                         ORIGINAL PROCEEDING
                           WRIT OF MANDAMUS
                              506th District Court
                            Grimes County, Texas
                         Trial Court Cause No. 019095

                        MEMORANDUM OPINION

      On April 19, 2024, relator Alfredo Garza filed a petition for writ of
mandamus in this Court. See Tex. Gov’t Code Ann. § 22.221; see also Tex. R.
App. P. 52. In the petition, relator asks this Court to compel the Honorable Gary
W. Chaney, presiding judge of the 506th District Court of Grimes County, to
vacate the trial court’s February 9, 2024 order granting the motion to disqualify
defense counsel.

      Relator has not established that he is entitled to mandamus relief.
Accordingly, we deny relator’s petition for writ of mandamus.


                                 PER CURIAM

Panel consists of Chief Justice Christopher and Justices Zimmerer and Wilson.
Do Not Publish — Tex. R. App. P. 47.2(b).
